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                     Exhibit 8
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         Infringement Claim Chart for U.S. Pat. No. US7023979B1 v. Seek Thermal (“Defendant”)


   Claim10                                              Evidence
10. A           The Seek Thermal Customer Service performs a method for communicating in a
communication   communication network.
s method
comprising:     For Example, Seek Thermal Customer Service performs a method of communicating by
                establishing, over a communication network, a call between callers with a request to the
                appropriate department for assistance.




                Source: Support Hours – Seek Thermal Support




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   Source: Support Hours – Seek Thermal Support




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   Source: Online Support Form (netsuite.com)




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   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
   Infrared Thermal Cameras




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(a) receiving a   The Seek Thermal Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
, each having     For example, Seek Thermal Customer Service receives calls from multiple callers. For
associated        each call, a user provides information about the nature of the call by selecting the
classification    appropriate department from the given choices via keypad entry. The responses are
information;      used to classify the call.




                  Source: Support Hours – Seek Thermal Support




                                                  6
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   Source: Support Hours – Seek Thermal Support




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   Source: Online Support Form (netsuite.com)




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    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
    Infrared Thermal Cameras




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(b) storing         The Seek Thermal Customer Service maintains information about potential targets that
information         includes support agents, departments, or specific resources capable of handling different
representing        types of inquiries.
characteristics
of a plurality of   For example, Seek Thermal Customer Service stores information about the skill set
potential           possessed by agents who are potential targets of the call.
targets;




                    Source: Support Hours – Seek Thermal Support




                                                     11
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    Source: Support Hours – Seek Thermal Support




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    Source: Online Support Form (netsuite.com)




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    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
    Infrared Thermal Cameras




                                     15
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(c) determining     The Seek Thermal Customer Service determines an optimum target for each
an optimum          communication based on the communication classification and target characteristics
target for each     using a multivariate cost function comparing at least three potential targets.
communication
based on the        For example, Seek Thermal Customer Service analyses the caller selection to determine
communication       one or more skills that an agent who is selected to receive the call should have in order
classification      to provide the caller with the requested assistance. The system determines the potential
and target          agent based on the communication classification and performs automated skill-based
characteristics     routing of calls using Zendesk Omnichannel support (i.e., a multivariate cost function).
using a             Seek Thermal employs numerous agents, at least three of which possess the skill set
multivariate cost   required by the call.
function
comparing at
least three
potential
targets; and




                    Source: Support Hours – Seek Thermal Support




                                                     16
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    Source: Support Hours – Seek Thermal Support




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    Source: Online Support Form (netsuite.com)




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    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
    Infrared Thermal Cameras




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                  Source: Seek Thermal selects Zendesk Service for Customer Support
                  (appsruntheworld.com)




                  Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
                  India

(d) routing the   The Seek Thermal Customer Service routes the communication to the optimum target.
communication
to the optimum    For example, upon determining, as the optimum target, the agent to which the call
target,           should be routed, Seek Thermal Customer Service routes the call to that destination
                  agent using Zendesk Omnichannel support.




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    Source: Support Hours – Seek Thermal Support




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    Source: Support Hours – Seek Thermal Support




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    Source: Online Support Form (netsuite.com)




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    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
    Infrared Thermal Cameras




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                 Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
                 India
said determining The Seek Thermal Customer Service performs the determination and the routing steps
step and said    within a common operating environment.
routing step
being performed For example, when a caller provides information about the nature of the call by selecting
within a         the appropriate department from the given choices, then Zendesk automates the skill-
common           based call routing using a single Zendesk AI for integration (i.e., in a common operating
operating        system).
environment.




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    Source: Support Hours – Seek Thermal Support




                                     28
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    Source: Support Hours – Seek Thermal Support




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    Source: Online Support Form (netsuite.com)




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    Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
    Infrared Thermal Cameras




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    Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
    India




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